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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA                    ptL&D
                                                                       HfEBl1* ftM P Q&
UNITED STATES OF AMERICA,                        CASE NO.
                                                            llcr3486-||g^|T|i?Kl®^
                                                                                 (V^v ^OO
                        Plaintiff,                                                       iifSiW’
                                                                «v-
                vs.                              JUDGMENT OF DISMISSAL
TOMOKO WALSH (25),

                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

X     the Court has granted the motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

X     of the offense(s) as charged in the Indictment:

      18:1343    Wire Fraud



            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 2/9/17
                                                 Nita L. Stormes
                                                 U.S. Magistrate Judge
